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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                                                                                  October 22, 2021
                         UNITED STATES DISTRICT COURT
                                                                                 Nathan Ochsner, Clerk
                          SOUTHERN DISTRICT OF TEXAS
                            CORPUS CHRISTI DIVISION

BADFISH CHARTERS,                            §
                                             §
         Plaintiff,                          §
VS.                                          § CIVIL ACTION NO. 2:21-CV-00130
                                             §
VIRGINIA DIESEL & TRUCK REPAIR,              §
INC.,                                        §
                                             §
         Defendant.                          §

                                         ORDER

       Before the Court is Plaintiff’s Motion for Leave to File First Amended Complaint

(D.E. 12), seeking the Court’s consideration of its amended complaint (D.E. 13) filed

simultaneously with the motion. Defendant filed a response (D.E. 15) raising numerous

complaints under Rule 12(b)(6) and applicable law regarding the sufficiency of the

proposed pleading and arguments on the merits of the causes of action. Plaintiff filed a

reply (D.E. 16) in excess of the page limits so as to address the Rule 12(b)(6) complaints.

       The 12(b)(6) arguments and responses should be considered in a separate motion

so that Plaintiff’s motion for leave can be considered on its merits consistent with the

Court’s ordinary motion practice. The only other issue Defendant raised in opposition to

granting leave to file the amended complaint is that it represents a practice that is not

commended because the lawsuit was filed on a breach of contract action during the 60 -

day time period that Defendant ordinarily has to attempt to settle the proposed DTPA

claim without incurring the costs of suit. Defendant thus complains that the amended

complaint is prejudicial gamesmanship. The Court rejects this argument.
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       Consequently, the Court GRANTS the motion for leave to file amended complaint

(D.E. 12) and deems the amended complaint (D.E. 13) duly filed. The Court

INSTRUCTS the Clerk of Court to refile Defendant’s response (D.E. 15) as a motion to

dismiss on the docket of this case. The Court further INSTRUCTS the Clerk of Court to

then refile Plaintiff’s reply (D.E. 16) as a response to the motion to dismiss. The Court

takes the motion to dismiss and its response under advisement for consideration in due

course.

       ORDERED this 22nd day of October, 2021.

                                            ___________________________________
                                            NELVA GONZALES RAMOS
                                            UNITED STATES DISTRICT JUDGE




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